                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                 3:18-cr-259-MOC-DCK

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
 vs.                                            )                       ORDER
                                                )
 LUCAS MATTHEW HAWKINSON,                       )
                                                )
                  Defendant.                    )



       THIS MATTER is before the Court on Defendant Lucas Matthew Hawkinson’s motion

for compassionate release under 18 U.S.C. § 3582(c)(1)(A) and Sentencing Guidelines § 1B1.13

and on his motion for a reduced sentence under Amendment 821 to the Sentencing Guidelines.

(Doc. No. 48). The Government has responded in opposition to the motion. (Doc. No. 51).

       I.      BACKGROUND

       During November and December of 2017, Defendant robbed four businesses in

Charlotte, North Carolina, and he attempted to rob a fifth. (Doc. No. 25 ¶¶ 9–32). During each

robbery and attempted robbery, Defendant brandished a firearm, sometimes pointing it directly at

an employee. (Id. ¶¶ 10–11, 15, 18, 22, 26). When Defendant committed these offenses, he had

previously been convicted of burglary, multiple firearm offenses, inflicting “corporal injury

spouse,” and assault on a female. (Id. ¶¶ 51, 53, 55–57, 60). When he assaulted a female in 2016,

he pulled his victim’s hair, punched her in the face, and threw her to the ground. (Id. ¶ 60).

       A federal grand jury charged Defendant in this case with five counts of Hobbs Act

robbery, 18 U.S.C. § 1951, and five counts of brandishing a firearm during and in relation to a


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crime of violence, 18 U.S.C. § 924(c). (Doc. No. 1). Defendant entered into a plea agreement

with the Government, pleading guilty to one of the Hobbs Act robberies and one of the Section

924(c) firearm offenses. (Doc. No. 19 ¶ 1).

       This Court’s probation office submitted a presentence report and calculated a total

offense level of 17 for the robbery offense. (Doc. No. 25 ¶ 48). The probation office noted that

Defendant’s offense conduct would ordinarily warrant a five-offense-level increase because he

brandished a firearm during the robbery offense, but because Defendant pleaded guilty to a

Section 924(c) offense, the probation office did not apply this increase. (Id. ¶ 40). The probation

office assessed Defendant 13 criminal-history points based on his prior criminal offenses and an

additional 2 criminal-history points because he committed his robbery offenses while he was on

probation. (Id. ¶¶ 61–62).

       The Sentencing Guidelines advised a sentence of between 51 and 63 months in prison for

the robbery offense based on a total offense level of 17 and a criminal-history category of VI.

(Id. ¶ 85). Defendant faced a mandatory consecutive term of 84 months in prison for the firearm

offense. (Id. ¶ 84). This Court sentenced Defendant to 63 months in prison for the robbery

offense and a consecutive sentence of 84 months in prison for the firearm offense, for an

aggregate term of 147 months in prison. (Doc. No. 37 at 2).

       In November of 2023, Defendant asked the warden of his Bureau of Prisons (“BOP”)

facility to grant him compassionate release, asserting that he was eligible for a sentence

reduction under Amendment 821 to the United States Sentencing Guidelines. (Doc. No. 48-1 at

2). While in the BOP, Defendant has committed two disciplinary infractions. (Gov’t Ex. 1). On

January 26, 2024, he possessed a dangerous weapon, and in November of 2019, he committed



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assault without causing serious injury. (Id.). He has completed 18 educational courses, including

his GED. (Gov’t Ex. 2). Defendant now asks this Court to grant him compassionate release under

18 U.S.C. § 3582(c)(1)(A) or a sentence reduction under Amendment 821.

       II.     DISCUSSION

       A. Defendant’s Motion for Compassionate Release

       Section 3582(c)(1)(A) authorizes a district court to reduce a defendant’s sentence, after

considering the sentencing factors described in 18 U.S.C. § 3553(a), if the court finds that (1)

extraordinary and compelling reasons warrant a sentence reduction and (2) a sentence reduction

is consistent with “applicable policy statements issued by the Sentencing Commission.” The

Sentencing Commission’s policy statement applicable to compassionate-release motions is

Sentencing Guidelines § 1B1.13. Although the Fourth Circuit held in United States v. McCoy

that § 1B1.13 was not an “applicable policy statement” limiting a district court’s authority to

grant compassionate release because the Sentencing Commission had not amended § 1B1.13 to

incorporate changes to § 3582(c)(1)(A) made by the First Step Act, 981 F.3d 271, 282 (4th Cir.

2020), the Sentencing Commission amended Section 1B1.13, effective November 1, 2023. The

amended policy statement now governs Defendant’s motion for compassionate release.

       Section 1B1.13, as amended, authorizes this Court to grant a defendant’s motion for

compassionate release if this Court finds that extraordinary and compelling reasons warrant a

sentence reduction and that the defendant is not a danger to the safety of any other person or to

the community. U.S.S.G. § 1B1.13(a). Section 1B1.13(b) describes five categories of

extraordinary and compelling reasons that individually, or in combination, may support a request

for compassionate release: (1) medical circumstances of the defendant, (2) the age of the



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defendant, (3) a defendant’s family circumstances, (4) sexual or physical abuse suffered by the

defendant while in custody involving a “sexual act” or “serious bodily injury,” and (5) an

unusually long sentence.

       Medical circumstances that a court may find to support a finding of extraordinary and

compelling reasons include a terminal illness; a serious medical condition or impairment or a

deterioration of physical or mental health caused by aging that “substantially diminishes the

ability of the defendant to provide self-care and from which he is not expected to recover; and a

medical condition requiring long-term or specialized medical care that is not being provided and

that presents a risk of serious deterioration in health or death. Id. § 1B1.13(b)(1). A court may

also find extraordinary and compelling reasons justifying compassionate release under this

category if the defendant shows that he is housed at a correctional facility affected by an ongoing

outbreak of infectious disease or public health emergency, the defendant is at increased risk of

suffering severe medical complications or death as a result, and this risk cannot be adequately

mitigated in a timely manner. (Id.).

       A defendant’s age may constitute an extraordinary and compelling reason if the

defendant is at least 65 years old, is experiencing a serious and age-related deterioration in

physical or mental health and has served at least 10 years or 75 percent of his term of

imprisonment, whichever is less. Id. § 1B1.13(b)(2). Family circumstances may constitute an

extraordinary and compelling reason upon (1) the death of incapacitation of the caregiver of the

defendant’s minor child or the defendant’s older child who is incapable of self-care because of a

medical disability or condition, or (2) the incapacitation of the defendant’s spouse, partner,

parent, or equivalent relation when the defendant would be the only available caregiver. Id. §



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1B1.13(b)(3). A court may also find that extraordinary and compelling reasons for

compassionate release exist where a defendant presents “any other circumstance or combination

of circumstances that “are similar in gravity to those described” above.

       Additionally, a court may find extraordinary and compelling reasons warranting

compassionate release where a defendant received “an unusually long sentence” and has served

at least 10 years of that sentence and a new legal development, other than a retroactive

amendment to the Sentencing Guidelines, “would produce a gross disparity between the sentence

being served and the sentence likely to be imposed at the time the motion is filed.” Id. §

1B1.13(b)(6). A court considering whether a change in law constitutes an extraordinary and

compelling circumstance must consider fully “the defendant’s individualized circumstances.” Id.

       Defendant has not identified any extraordinary and compelling reason to grant him

compassionate release. Defendant suggests that this Court should reduce his sentence because it

erroneously applied a five-offense-level increase for his brandishing a firearm when he was also

convicted of a Section 924(c) firearm offense for the same conduct. Defendant is mistaken, as

the probation office found that the increase did not apply, and this Court adopted the presentence

report, sentencing Defendant within the advisory guideline range.

       Even if the Court had erred in calculating Defendant’s guideline range, Defendant’s

claim of sentencing error is not cognizable in a motion for compassionate release. As the Fourth

Circuit explained in United States v. Ferguson, “[b]ecause [18 U.S.C.] § 2255 is the exclusive

method of collaterally attacking a federal conviction or sentence, a criminal defendant is

foreclosed from the use of another mechanism, such as a motion for compassionate release, to

sidestep § 2255’s requirements.” 55 F.4th 262, 270 (4th Cir. 2022). Because Defendant has not



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identified any extraordinary and compelling reason described in Section 1B1.13 to justify his

compassionate release, this Court denies his motion.

       The sentencing considerations set forth in 18 U.S.C. § 3553(a) also counsel against a

discretionary sentence reduction. Defendant committed four violent robbery offenses and

attempted a fifth. His criminal history includes burglary, firearm, and assault offenses, and

Defendant has committed disciplinary infractions in prison, including one only a few months

ago. Defendant has not shown that he no longer poses a threat to the community, and the nature

and circumstances of his offense, his history and characteristics, the need to protect the public,

and the need to deter Defendant and others from committing similar offenses all weigh against

any discretionary sentencing relief.

       B. Defendant’s Motion Brought under Amendment 821

       Defendant also asks this Court to reduce his sentence under Amendment 821 to the

Sentencing Guidelines and 18 U.S.C. § 3582(c)(2). Because Defendant is not eligible for

Amendment 821 relief, his motion is denied.

       Amendment 821 to the Sentencing Guidelines made two changes to chapter 4 of the

Sentencing Guidelines related to a defendant’s criminal history. See U.S.S.G. amend. 821. The

Sentencing Commission has made Part A and Part B, Subpart 1, of Amendment 821 retroactively

applicable, authorizing eligible defendants to seek a discretionary sentence reduction under 18

U.S.C. § 3582(c)(2). U.S.S.G. amend. 825; see U.S.S.G. § 1B1.10(d).

       Part A of the amendment alters Sentencing Guidelines § 4A1.1 to strike the two status

points previously assessed under Section 4A1.1(d) for defendants who committed their offense

while under any criminal-justice sentence, including probation, parole, supervised release,



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imprisonment, work release, or escape status. Id. pt. A. Part A adds a new subsection (e) that

adds one criminal-history point for any defendant who receives 7 or more points and who

committed his offense while under any criminal-justice sentence as described above. Id.

       For defendants who meet the requirements of Amendment 821, Sentencing Guidelines §

1B1.10 governs eligibility for a sentence reduction. Section 1B1.10(a)(1) authorizes a district

court generally to reduce a defendant’s sentence in any case in which a defendant is serving a

term of imprisonment and the guideline range applicable to the defendant “has subsequently

been lowered as a result” of a retroactively applicable amendment to the Guidelines. A defendant

is not eligible for a sentence reduction if the retroactively applicable amendment “does not have

the effect of lowering the defendant’s applicable guideline range.” U.S.S.G. § 1B1.10(a)(2)(B).

A court is limited to a reduction to the bottom of the amended guideline range, after calculating

the range that would have applied had the guideline amendment been in effect when the

defendant was sentenced. Id. § 1B1.10(b)(2). In calculating the amended range, “the court shall

substitute only” the retroactively applicable guideline amendment and “leave all other guideline

application decisions unaffected.” Id. § 1B1.10(b)(1). If the defendant received a sentence below

the applicable guideline range based on a motion filed by the Government for substantial

assistance, the court may reduce the defendant’s sentence to a term “comparably less than the

amended guideline range.” Id. § 1B1.10(b)(2)(B). Under no circumstances shall a defendant’s

sentence be reduced to a term less than the term he has already served. Id. § 1B1.10(b)(2)(C).

       Defendant is not eligible for a reduction in his sentence. Defendant received two

criminal-history points because he committed his firearm offense while he was under a criminal-

justice sentence. Under Amendment 821, he would receive only one of those criminal-history



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points because he had more than six criminal-history points related to his prior convictions.

Without that criminal-history point, Defendant’s total criminal-history points is reduced from 15

to 14. With 14 criminal-history points, Defendant’s criminal-history category would remain

category VI. See U.S.S.G. ch. 5, part A. Because application of Amendment 821 would not alter

Defendant’s criminal-history category, the Sentencing Guidelines would still advise a sentence

of between 57 and 63 months in prison for his robbery offense based on a total offense level of

17 and a criminal-history category of VI. Defendant is not eligible for a sentence reduction under

18 U.S.C. § 3582(c)(2) because application of Amendment 821 does not lower his advisory

guideline range.

                                           ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s pro se Motion for Compassionate

Release/Reduction of Sentence, (Doc. No. 48), is DENIED.

                                            Signed: April 4, 2024




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